Case 1:16-cv-20249-DPG Document1 Entered on FLSD Docket 01/20/2016 Page 1 of 25

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

CASE NO.:

ATANAS MICHEL,

Plaintiff,
VS.
MIAMI-DADE COUNTY, and
CITY OF AVENTURA,

Defendants.
/
COMPLAINT

Plaintiff, ATANAS MICHEL, by and through undersigned counsel, sues MIAMI-DADE

COUNTY and CITY OF AVENTURA, and states:
ALLEGATIONS COMMON TO ALL COUNTS

1. This is an action for damages in excess of FIFTEEN THOUSAND DOLLARS
($15,000.00), exclusive of costs, and interest where applicable.

2 At all times material hereto and at the time of the incident complained of Plaintiff
was a resident of Miami-Dade County, Florida.

ts At all times material hereto and at the time of the incident complained of, the
Defendant, MIAMI-DADE COUNTY, was a municipal subdivision of the State of Florida.

4. At all times material hereto and at the time of the incident complained of, the
Defendant, CITY OF AVENTURA, was a municipal subdivision of the State of Florida.

5. The event or transaction out of which these claims arose occurred in the City of

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MARC A. GREGG, P. A., 2114 N. FLAMINGO ROAD #134, PEMBROKE PINES, FL 33028 (954) 680-7661
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Aventura, Miami-Dade County, Florida.

6. The Defendant, MIAMI-DADE COUNTY, has waived sovereign immunity under
and to the extent specified under Florida Statutes Section 768.28.

Es The Defendant, MIAMI-DADE COUNTY, was provided with proper notice of
this action pursuant to Fla. Stat. Section 768.28 (see appended composite Exhibit “A”),

8. The Defendant, CITY OF AVENTURA, has waived sovereign immunity under
and to the extent specified under Florida Statutes Section 768.28.

2. The Defendant, CITY OF AVENTURA, was provided with proper notice of this
action pursuant to Fla. Stat. Section 768.28 (see appended composite Exhibit “A”).

10. The Chief Financial Officer was provided with proper notice of this action
pursuant to Fla. Stat. Section 768.28 (see appended composite Exhibit “A”).

11. __ All conditions precedent to the bringing of this action have been performed and
satisfied.

12. To date, neither MIAMI-DADE COUNTY nor CITY OF AVENTURA nor the
Chief Financial Officer has made a final disposition of the Plaintiffs claims. Thus, Plaintiff's
claims are deemed denied for purposes of the notice requirements imposed by Fla. Stat. Section
768.28.

13. On or about May 29, 2014, pursuant to a residential search warrant for 4133 NW
24h Avenue, Miami, Florida 33142 and for 4135 NW 24" Avenue, Miami, Florida 33142,
Miami-Dade Special Response Team and the Aventura Police Department entered 4135 NW 24"
Avenue, Miami, Florida 33142 (the “unit”) searching for evidence related to a credit card fraud
investigation.

14. Plaintiff ATANAS MICHEL was sleeping on a living room couch in the unit.

15. The law enforcement personnel pulled Plaintiff from the couch, and threw him to

the floor, punching him and kicking him in his chest and back.

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COUNT I- NEGLIGENCE AS TO MIAMI-DADE COUNTY

16. Plaintiff readopts and realleges each and every allegation contained in the
allegations common to all counts as if same were fully set forth herein, and further states:

17. Plaintiff had committed no crime and was not connected in any way to the alleged
credit card fraud being investigated by law enforcement.

18. Defendant had a duty to ensure that a reasonable investigation was conducted to
ensure that individuals such as the Plaintiff were not falsely arrested noir held contrary to such an
individual’s will, and a duty to ensure that a thorough investigation was completed and
incorporated into the affidavits in support of the warrant.

19. Defendant breached that duty by failing to ensure that Plaintiff, and Plaintiff's
unit, were actually related to the crimes being investigated.

20. During that time, Defendant, by and through its officers, knew or should have
known on a continual basis that Defendant had failed to conduct a reasonable investigation to
ensure that Plaintiff, and Plaintiffs unit was actually related to the crimes being investigated.

21. Asa result, Plaintiff was held against his will by Defendants officers.

22. That as a direct and proximate result of the negligence of MIAMI-DADE
COUNTY, the Plaintiff was seriously and severely injured in and about his head, neck, back,
body and limbs, and was thereby rendered sick, sore, lame and otherwise disabled, or, in the
alternative, the injuries aforesaid thereby caused or contributed to cause an aggravation of a

previous existing defect or infirmity; and as a direct result thereof, the Plaintiff has in the past
suffered and will in the future suffer great pain and anguish of body and mind, and the injuries so

complained of by him are permanent in nature.
23. That as a further direct and proximate result of the negligence of MIAMI-DADE

COUNTY, as aforesaid, the Plaintiff has in the past undergone and will in the future undergo

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painful and extensive medical care and treatment, and has in the past incurred and will in the
future incur medical bills and expenses attendant to his injuries, as aforesaid.

24, That as a further direct and proximate result of the negligence MIAMI-DADE
COUNTY, as aforesaid, the Plaintiff has in the past sustained and will in the future sustain loss
of earnings and earning capacity.

25. That as a further direct and proximate result of the negligence MIAMI-DADE
COUNTY, as aforesaid, the Plaintiff has suffered mental anguish and humiliation.

WHEREFORE, the Plaintiff, demands judgment against the Defendant MIAMI-DADE
COUNTY, in an amount in excess of FIFTEEN THOUSAND DOLLARS ($15,000.00),
exclusive of interest where applicable and costs, which he prays for in addition thereto.

COUNT II- FALSE IMPRISONMENT AS TO MIAMI-DADE COUNTY

26. Plaintiff readopts and realleges each and every allegation contained in the
allegations common to all counts as if same were fully set forth herein, and further states:

Zi. Plaintiff had committed no crime and was not connected in any way to the alleged

credit card fraud being investigated by law enforcement.

28. Defendant intentionally caused Plaintiff to be completely restrained against his

will,

29. During that time, Defendant, by and through its officers, knew or should have

known on a continual basis that Defendant had failed to conduct a reasonable investigation to

ensure that Plaintiff, and Plaintiffs unit was actually related to the crimes being investigated.

30. That as a direct and proximate result of the false imprisonment by MIAMI-DADE
COUNTY, the Plaintiff was seriously and severely injured in and about his head, neck, back,
body and limbs, and was thereby rendered sick, sore, lame and otherwise disabled, or, in the

alternative, the injuries aforesaid thereby caused or contributed to cause an aggravation of a

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previous existing defect or infirmity; and as a direct result thereof, the Plaintiff has in the past
suffered and will in the future suffer great pain and anguish of body and mind, and the injuries so
complained of by him are permanent in nature.

31. That as a further direct and proximate result of the false imprisonment by
MIAMI-DADE COUNTY, as aforesaid, the Plaintiff has in the past undergone and will in the
future undergo painful and extensive medical care and treatment, and has in the past incurred and
will in the future incur medical bills and expenses attendant to his injuries, as aforesaid.

32. That as a further direct and proximate result of the false imprisonment by
MIAMI-DADE COUNTY, as aforesaid, the Plaintiff has in the past sustained and will in the
future sustain loss of earnings and earning capacity.

33. That as a further direct and proximate result of the false imprisonment by
MIAMI-DADE COUNTY, as aforesaid, the Plaintiff has suffered mental anguish and

humiliation.

WHEREFORE, the Plaintiff, demands judgment against the Defendant MIAMI-DADE
COUNTY, in an amount in excess of FIFTEEN THOUSAND DOLLARS ($15,000.00),

exclusive of interest where applicable and costs, which he prays for in addition thereto.

COUNT III- VIOLATION OF CONSTITUIONAL RIGHTS AS TO MIAMI-
DADE COUNTY

34. Plaintiff readopts and realleges each and every allegation contained in the
allegations common to all counts as if same were fully set forth herein, and further states:

35. Plaintiff had committed no crime and was not connected in any way to the alleged
credit card fraud being investigated by law enforcement.

36. In committing the acts complained of herein, Defendant acted under color of state

law to deprive Plaintiff of certain constitutionally protected rights under the 4" and 14"

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amendments to the United States Constitution, including but not limited to a) the right to be free
of unreasonable searches and seizures, b) the right not to be deprived of liberty without due
process of law, c) the right to be free of excessive force by persons acting under color of state
law, d) the right to be free from false imprisonment.

37. Defendant had a duty to ensure that a reasonable investigation was conducted to
ensure that individuals such as the Plaintiff were not falsely arrested nor held contrary to such an
individual’s will, and a duty to ensure that a thorough investigation was completed and
incorporated into the affidavits in support of the warrant.

38. Defendant breached that duty by failing to ensure that Plaintiff, and Plaintiff's
unit, were actually related to the crimes being investigated.

39. Defendant failed to properly train its police officers in conducting investigation,
and/or follow up investigation.

40. Asaresult, Plaintiff was held against his will by Defendant’s officers.

41. | The law enforcement personnel pulled Plaintiff from the couch, and threw him to

the floor, punching him and kicking him in his chest and back.

42. Plaintiff had a constitutional right to be free from unreasonable searches and
seizures, and a constitutional right to due process pursuant to the 4" and 14‘ amendments to the

United States Constitution.

43. Defendant’s failure to train was in violation of Plaintiff's constitutional right to be
free from a) the right to be free of unreasonable searches and seizures, b) the right not to be
deprived of liberty without due process of law, c) the right to be free of excessive force by
persons acting under color of state law, d) the right to be free from false imprisonment.

44. That as a direct and proximate result of the violation of constitutional rights by
MIAMI-DADE COUNTY, the Plaintiff was seriously and severely injured in and about his head,

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neck, back, body and limbs, and was thereby rendered sick, sore, lame and otherwise disabled,
or, in the alternative, the injuries aforesaid thereby caused or contributed to cause an aggravation
of a previous existing defect or infirmity; and as a direct result thereof, the Plaintiff has in the
past suffered and will in the future suffer great pain and anguish of body and mind, and the
injuries so complained of by him are permanent in nature.

45, That as a further direct and proximate result of the violation of constitutional
rights by MIAMI-DADE COUNTY, as aforesaid, the Plaintiff has in the past undergone and will
in the future undergo painful and extensive medical care and treatment, and has in the past
incurred and will in the future incur medical bills and expenses attendant to his injuries, as
aforesaid.

46. That as a further direct and proximate result of the violation of constitutional
rights by MIAMI-DADE COUNTY, as aforesaid, the Plaintiff has in the past sustained and will
in the future sustain loss of earnings and earning capacity.

47. That as a further direct and proximate result of the false imprisonment by
MIAMI-DADE COUNTY, as aforesaid, the Plaintiff has suffered mental anguish and
humiliation.

WHEREFORE, the Plaintiff, demands judgment against the Defendant MIAMI-DADE
COUNTY, in an amount in excess of FIFTEEN THOUSAND DOLLARS ($15,000.00),
exclusive of interest where applicable and costs, which he prays for in addition thereto, and for
attorneys fees pursuant to 42 U.S.C. Section 1981 and Section 1983.

COUNT IV- NEGLIGENCE AS TO CITY OF AVENTURA
48. Plaintiff readopts and realleges each and every allegation contained in the
allegations common to all counts as if same were fully set forth herein, and further states:

49. Plaintiff had committed no crime and was not connected in any way to the alleged

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credit card fraud being investigated by law enforcement.

50. Defendant had a duty to ensure that a reasonable investigation was conducted to
ensure that individuals such as the Plaintiff were not falsely arrested noir held contrary to such an
individual’s will, and a duty to ensure that a thorough investigation was completed and
incorporated into the affidavits in support of the warrant.

51. Defendant breached that duty by failing to ensure that Plaintiff, and Plaintiff's
unit, were actually related to the crimes being investigated.

52. During that time, Defendant, by and through its officers, knew or should have
known on a continual basis that Defendant had failed to conduct a reasonable investigation to
ensure that Plaintiff, and Plaintiffs unit was actually related to the crimes being investigated.

53. As aresult, Plaintiff was held against his will by Defendant’s officers.

54. That as a direct and proximate result of the negligence of CITY OF AVENTURA,
the Plaintiff was seriously and severely injured in and about his head, neck, back, body and
limbs, and was thereby rendered sick, sore, lame and otherwise disabled, or, in the alternative,
the injuries aforesaid thereby caused or contributed to cause an aggravation of a previous
existing defect or infirmity; and as a direct result thereof, the Plaintiff has in the past suffered and
will in the future suffer great pain and anguish of body and mind, and the injuries so complained
of by him are permanent in nature.

55. That as a further direct and proximate result of the negligence of CITY OF
AVENTURA, as aforesaid, the Plaintiff has in the past undergone and will in the future undergo
painful and extensive medical care and treatment, and has in the past incurred and will in the
future incur medical bills and expenses attendant to his injuries, as aforesaid.

24. That as a further direct and proximate result of the negligence CITY OF

AVENTURA, as aforesaid, the Plaintiff has in the past sustained and will in the future sustain

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loss of earnings and earning capacity.

56. That as a further direct and proximate result of the negligence CITY OF
AVENTURA, as aforesaid, the Plaintiff has suffered mental anguish and humiliation.

WHEREFORE, the Plaintiff, demands judgment against the Defendant CITY OF
AVENTURA, in an amount in excess of FIFTEEN THOUSAND DOLLARS ($15,000.00),
exclusive of interest where applicable and costs, which he prays for in addition thereto.

COUNT V- FALSE IMPRISONMENT AS TO CITY OF AVENTURA

57. Plaintiff readopts and realleges each and every allegation contained in the
allegations common to all counts as if same were fully set forth herein, and further states:

58. Plaintiff had committed no crime and was not connected in any way to the alleged

credit card fraud being investigated by law enforcement.

59. Defendant intentionally caused Plaintiff to be completely restrained against his

will.

60. During that time, Defendant, by and through its officers, knew or should have
known on a continual basis that Defendant had failed to conduct a reasonable investigation to
ensure that Plaintiff, and Plaintiff's unit was actually related to the crimes being investigated.

61. That as a direct and proximate result of the false imprisonment by CITY OF
AVENTURA, the Plaintiff was seriously and severely injured in and about his head, neck, back,
body and limbs, and was thereby rendered sick, sore, lame and otherwise disabled, or, in the
alternative, the injuries aforesaid thereby caused or contributed to cause an aggravation of a
previous existing defect or infirmity; and as a direct result thereof, the Plaintiff has in the past
suffered and will in the future suffer great pain and anguish of body and mind, and the injuries so
complained of by him are permanent in nature.

62. That as a further direct and proximate result of the false imprisonment by CITY

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OF AVENTURA, as aforesaid, the Plaintiff has in the past undergone and will in the future
undergo painful and extensive medical care and treatment, and has in the past incurred and will
in the future incur medical bills and expenses attendant to his injuries, as aforesaid.

63. That as a further direct and proximate result of the false imprisonment by CITY
OF AVENTURA, as aforesaid, the Plaintiff has in the past sustained and will in the future
sustain loss of earnings and earning capacity.

64. That as a further direct and proximate result of the false imprisonment by CITY
OF AVENTURA, as aforesaid, the Plaintiff has suffered mental anguish and humiliation.

WHEREFORE, the Plaintiff, demands judgment against the Defendant CITY OF

AVENTURA, in an amount in excess of FIFTEEN THOUSAND DOLLARS ($15,000.00),
exclusive of interest where applicable and costs, which he prays for in addition thereto.

COUNT VI- VIOLATION OF CONSTITUIONAL RIGHTS AS TO CITY OF
AVENTURA

65. Plaintiff readopts and realleges each and every allegation contained in the
allegations common to all counts as if same were fully set forth herein, and further states:

66. Plaintiff had committed no crime and was not connected in any way to the alleged
credit card fraud being investigated by law enforcement.

67. In committing the acts complained of herein, Defendant acted under color of state
law to deprive Plaintiff of certain constitutionally protected rights under the 4" and 14%
amendments to the United States Constitution, including but not limited to a) the right to be free
of unreasonable searches and seizures, b) the right not to be deprived of liberty without due
process of law, c) the right to be free of excessive force by persons acting under color of state
law, d) the right to be free from false imprisonment.

68. Defendant had a duty to ensure that a reasonable investigation was conducted to

ensure that individuals such as the Plaintiff were not falsely arrested nor held contrary to such an

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individual’s will, and a duty to ensure that a thorough investigation was completed and
incorporated into the affidavits in support of the warrant.

69. Defendant breached that duty by failing to ensure that Plaintiff, and Plaintiff's
unit, were actually related to the crimes being investigated.

70. Defendant failed to properly train its police officers in conducting investigation,
and/or follow up investigation.

71. As a result, Plaintiff was held against his will by Defendant’s officers.

72. The law enforcement personnel pulled Plaintiff from the couch, and threw him to

the floor, punching him and kicking him in his chest and back.

73. Plaintiff had a constitutional right to be free from unreasonable searches and
seizures, and a constitutional right to due process pursuant to the 4" and 14" amendments to the

United States Constitution.

74. Defendant’s failure to train was in violation of Plaintiff's constitutional right to be
free from a) the right to be free of unreasonable searches and seizures, b) the right not to be
deprived of liberty without due process of law, c) the right to be free of excessive force by
persons acting under color of state law, d) the right to be free from false imprisonment.

75. That as a direct and proximate result of the violation of constitutional rights by
CITY OF AVENTURA, the Plaintiff was seriously and severely injured in and about his head,
neck, back, body and limbs, and was thereby rendered sick, sore, lame and otherwise disabled,
or, in the alternative, the injuries aforesaid thereby caused or contributed to cause an aggravation
of a previous existing defect or infirmity; and as a direct result thereof, the Plaintiff has in the
past suffered and will in the future suffer great pain and anguish of body and mind, and the
injuries so complained of by him are permanent in nature.

76. That as a further direct and proximate result of the violation of constitutional

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rights by CITY OF AVENTURA, as aforesaid, the Plaintiff has in the past undergone and will in
the future undergo painful and extensive medical care and treatment, and has in the past incurred
and will in the future incur medical bills and expenses attendant to his injuries, as aforesaid.

77. That as a further direct and proximate result of the violation of constitutional
rights by CITY OF AVENTURA, as aforesaid, the Plaintiff has in the past sustained and will in
the future sustain loss of earnings and earning capacity.

78. That as a further direct and proximate result of the false imprisonment by CITY
OF AVENTURA, as aforesaid, the Plaintiff has suffered mental anguish and humiliation.

WHEREFORE, the Plaintiff, demands judgment against the Defendant CITY OF
AVENTURA, in an amount in excess of FIFTEEN THOUSAND DOLLARS ($15,000.00),
exclusive of interest where applicable and costs, which he prays for in addition thereto, and for
attorneys fees pursuant to 42 U.S.C. Section 1981 and Section 1983.

DEMAND FOR JURY TRIAL
The Plaintiff in the above-styled cause hereby demands a trial by jury of all of the issues

triable by right.

Dated January 20, 2016.

Respectfully Submitted,

Marc A. Gregg, P.A.,

2114 N. Flamingo Road #136
Pembroke Pines, FL 33028
Tel: 954-680-7661

Fax: 561-450-5435

/s/_ Mare A, Gregg
Marc A. Gregg, Esq.

Florida Bar #: 8648

marcagregepa@aol.com

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LAW OFFICES
MARC A. GREGG
PROFESSIONAL ASSOCIATION
2114 N. FLAMINGO ROAD #136
Pembroke Pmes, F] 33028

Mare A, Gregg Telephone (954) 680-7661
marcagresspa@aol.com

May 4, 2015
CERTIFIED MAIL RETURN RECEIPT REQUESTED

Enid Weisman, Mavor

City of Aventura

19200 West Country Club Drive
Aventura. FL 33180

RE: NOTICE OF CLAIM —ATANAS JOHN MICHEL vs. Miami Dade Palice Department,
Aventura Police Department Miami-Dade County and City of Aventura

Claimant Atenas John Michel’s Date of Birth > 21/15/1957
Claimant Atanas John Michel’s Place of Birth : Haiti
Claimant Atanas John Michel’s Social Security No. 2 XXX-XX-XXXX

Dear Mr Gimenez:

You are herewith notified, pursuant to Fla, Stat. §768.28(6) and §768.28(7), that Atanas John Michel has’
claims for damages against the Miami-Dade Police Department, Aventura Police Department, Miami-Dade
County and City of Aventura which he hereby asserts.

Atanas John Michel suffered damages due to the improper and negligent execution of a search warrant,
and undue use of force by the referenced police departments on or about May 29, 2014.

| | Claimant does not owe the State or its agencies any fines, penalties, fees or judgments in excess of
$200.00.

Enclosed herewith please find copies of Notice Letters forwarded this date to Jeff Atwater, Chief Financial
Officer, State of Florida, 200 E Gaines St. Tallahassee, FL, 32399-6502; J. D. Patterson, Director
Miami-Dade Police Department, 9105 NW 25th Street, Doral, FL 33172: Carlos A. Gimenez, Mayor,
Miami-Dade County, Stephen P. Clark Center, 111 N.W. Ist Street, Suite 2910, Miami, Florida 33128;
and Steve Steinberg, Chief of Police, Aventura Police Department, 19200 West Country Club Drive,
Aventura, FL 33180, in compliance with Florida Statutes,

Very truly vours,

TA. Gregs, PLA, -

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apes
Marc A. Gregg, Esq.

Enclosures as stated

COMPOSITE EXHIBIT "A" |
Case 1:16-cv-20249-DP men n nF P
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NON DELIVERY

  
  

DER: COMPLETE THIS SECTION COMPLETE THIS SECTIO

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item 4 if Restricted Delivery is desired.
Bw Print your name and address on the reverse

so that we can return the card to you.
the back of the mailpiece,

(1 Agent 4
(1 Addressee

  
      
           

 

    

 

 

 

  
    

m Attach this card to :

or on the front if space permits. 4 :

—— ——— —_———— D. !s delivery address different from item 1? 01 Yes
Enid Weisman, Mayo if YES, enter delivery address below: 1 No
City of Aventura
49200 West Country Club Drive

Aventura, FL 331 80
3. Service Type
Certified Mail® (1 Priority Mail Express™
Registered Return Receipt for Merchand

(1 Collect on Delivery

 
 

CO Insured Mail

4. Restricted Delivery? (Extra Fee) (1 Yes

 

2. Article Number ay 12 “4010 “100 3 1a 55 24 bk

(Transfer from service label)
- PS Form 3811, July 2013

 

 
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USPS Tracking ™

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Postal Product: Features:
Certified Mail™ Text Unde
DATE & TIME ‘ STATUS OF ITEM LOCATION Email toc
May 7, 2015, 12:52 pm Delivered MIAMI, FL 33180

Your item was delivered at 12:52 pm on May 7, 2015 in MIAMI, FL 33180.

May 6, 2015 , 5:22 pm Departed USPS Facility MIAMI, FL 33152

May 5, 2015 , 11:47 pm Arrived at USPS Facility MIAMI, FL 33152

   

 

Tracking (or receipt) number Track all your ¢
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LAW OFFICES
MARC A, GREGG
PROFESSIONAL ASSOCIATION
2114 N. FLAMINGO ROAD #136
Pembroke Pines, F1 33028

Mare A. Gregg Telephone (954) 680-7661
marcagreggspa@aol.com

May 4, 2015
CERTIFIED MAIL RETURN RECEIPT REQUESTED

Jeff Atwater

RE: NOTICE OF CLADM-ATANAS JOHN MICHEL ¥s. Miami Dade Police Department,
Aventura Police Department Miami-Dade County and City of Aventura

Claimant Atanas John Michel's Date of Birth : 21/15/1944
Claimant Atanas John Michel’s Place of Birth : Haiti
Claimant Atanas John Michel's Social Security No. > XXX-XX-XXXX

Dear Mr Atwater:

You are herewith notified, pursuant to Fla. Stat. §768.28(6) and §768.28(7), that Atanas John Michel has
claims for damages against the Miami-Dade Police Department, Aventura Police Department, Miarni-Dade
County and City of Aventura which he hereby asserts.

Atanas John Michel suffered damages due tc the improper and negligent execution of a search warrant,
and undue use of force by the referenced police departments on or about May 29, 2014,

Claimant does not owe the State or its agencies any fines, penalties, fees or judgments in excess of
$200.00.

Enclosed herewith please find copies of Notice Letters forwarded this date to Carlos A. Gimenez, Mayor,
Miami-Dade County, Stephen P. Clark Center, 111 N.W. Ist Street, Suite 2910, Miami, Florida 33128:
Enid Weisman, Mayor, City of Aventura, 19200 West Country Club Drive, Aventura, FL 33180; J. D.

Patterson, Director Miami-Dade Police Department, 9105 NW 25th Street, Doral, FL 33172: and Steve
Steinberg, Chief of Police, Aventura Police Department, 19200 West Country Club Drive, Aventura, FL
33180, in compliance with Florida Statutes.

Very truly vours,

Mare A, Gregg, P.A.

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Enclosures as stated
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SENDER: COMPLETE THIS SECTION

 

@ Complete items 1, 2, and 3. Also complete
item 4 if Restricted Delivery is desired,

@ Print your name and address on the reverse
so that we can return the card to you.

@ Attach this card to the back of the mailpiece,
or on the front if space permits.

 

Jeff Atwater _

he

a fom

Chief Financial Officer, State.~©:F

200 E Gaines St.
Tallahassee, FL, 32399-6502

  
 
  

_B. Received by Printed Name)

 

COMPLETE THIS SECTION ON ay i 84
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ED Agent
1 Address
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3. Service Type
“PCertified Mail? 1 Priority Mail Express™
C1 Registered [2 Return Receipt for Merchandis
Cl insured Mail = Collect on Delivery

4. Restricted Delivery? (Extra Fee) 1 Yes

 

 

2. Article Number
(Transfer from service label)

: PS Form 3811, July 2013

7012 1010 0003 1855 2442

Domestic Return Receipt
  

1 of 2

Customer Service

USPS Mobile

 

Ee

USPS Tracking™

2°: 70121010000318552947

Dev: Friday, May 8, 2015

Postal Product:

DATE & TIME

May 11, 2015 , 9:15 am

 

Features:
Certified Mait™

STATUS OF ITEM

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720249-DPG Document 1 Entered BRE (@9ts- wise so HadiGorignAptiggacti¢ngRetSfullpagest.

Register / Sign In

LOCATION

TALLAHASSEE, FL 32314

Your item was delivered at 9:15 am on May 11, 2015 in TALLAHASSEE, FL 32374.

May 8, 2015 , 10:00 am
May 8, 2015 , 7:04 am
May 8, 2015 , 6:54 am
May 8, 2015 , 4:02 am
May 7, 2015 , 10:04 pm
May 7, 2015 , 9:41 am
May 6, 2015 , 3:36 am

May 5, 2015 , 11:47 pm

Available for Pickup

Out for Delivery

Sorting Complete
Arrived at Unit
Departed USPS Facility
Arrived at USPS Facility
Departed USPS Facility

Arrived at USPS Facility

TALLAHASSEE, FL 32314
TALLAHASSEE, FL 32314
TALLAHASSEE, FL 32314
TALLAHASSEE, FL 32314
TALLAHASSEE, FL 32301
TALLAHASSEE, FL 32301
MIAMI, FL 33152

MIAMI, FL 33152

 

AIT SIINTE INA ADS
Law OF FICES
MARC A, GREGG
PROF ESSIONAL ASSOCIATION
2114N.F LAMINGO ROAD #136
Pembroke Pines, F1 33628

“fare A. Gregg Telephone (934) 680-7661

May 4, 2615

CERTIFIED MAIL RETURN RECEIPT REQUESTED

Director Miami-Dade Police Department
¥ 25th Street
oral. FL 33172

 

RE: NOTICE OF CLAIM —- ATANAS JOHN MICHEL vs. Miami Dade Police Department,
Aventura Police Department Miami-Dade County and City of Aventara

Claimant Atanas John Michel’s Date of Birth > 11/15/1947

Claimant Atanas John Michel’s Place of Birth > Hath

Claimant Atanas John Michel’s Social Security No, > XXX-XX-XXXX
“eas fr Gimenes:

notified, pursuant to Fla, Stat. §768.28(6) and §768.28(7), that Atanas John Michel has
A against the Miami-Dade Police Department, Aventura Police Department, Miami-Dade
City of Aventura which he hereby asserts,

 

“lames [lon Michel suffered damages due to the improper and negligent execution of a search warrant,
ane acu use of force by the referenced police departments on or about May 29, 2014,

  

SimaGt Joes not owe the State or its agencies any fines, penalties, fees or judgments in excess of

Smt hsed herew ct please find copies of Notice Letters forwarded this date to Jeff Atwater, Chief Financial
: ca. 200 E Gaines St., Tallahassee, FL, 32399-6502: Enid Weisman, Mayor, City of
t Country Club Drive, Aventura, FL 33 180; Carlos A. Gimenez, Mayor, Miami-Dade
Clark Center, 111 N.W. ist Street, Suite 2910, Miami, Florida 3

  
 
   
  
   

Very truly yours,

Mare A. Gregg, PLA,
a

Marat egg. Esq.

 
Case 1:16-cv
: -20249-DPG D
Oc
ument 1 Entered on FLSD Docket 01/20/20
16 Page 20
of 25

  
    
         
 
   

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item 4 if Restricted Delivery is desired.
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nt if space permits.
sacs _D. Is delivery address different from tem 17 £1 Yes
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Pathan edad AE —~
J. D. Patterson
Director Miami-Dade Police Department
9105 NW 25th Stree _
Doral, FL 33172  — ——— ——
3, Service Type
ja Cartified Mail® C1 Priority Mail Express™
nT El Registered eturn Receipt for
(O Insured Mall 1 Collect on Delivery

 
  
  

  

stricted Delivery? (Extra Fee) 1 Yes

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2. Article Number
(Transfer from service label)

“Se Form 3811, July 2018
Case 1:16-cv-20249-DPG Document1 Entered on FLSD Docket 01/20/2016 Page 21 of 25

LAW OFFICES
MARC A. GREGG
PROFESSIONAL ASSOCIATION
2114 N, FLAMINGO RGAD #136
Pembroke Pines, F1 33928

Mare A. Gregg Telephone (954) 680-7661
imarcagrezgpa@aol.com

May 4.2015
CERTIFIED MAIL RETURN RECEIPT REQUESTED

Carlos A. Gimenez, Mavor

Miami-Dade County

Stephen P. Clark Center, 111 NV. ist Street, Suite 2910
Miami, Florida 33128

RE: NOTICE OF CLAIM —ATANAS JGHN MICHEL vs. Miami Dade Police Department,
Aventura Police Department Miami-Dade County and City of Aventura

Claimant Atenas John Michel's Date of Birth s LP/1S/1O51

Claimant Atanas John Michel's Place of Birth : Haiti

Claimant Atanas John Michel’s Social Security Ne. : XXX-XX-XXXX
Dear Mr Gimenez:

You are herewith notified, pursuant to Fla. Stat. §768.28(6) and §768.28(7), that Atanas John Michel has
claims for damages against the Miami-Dade Police Department, Aventura Police Department, Miami-Dade
County and City of Aventura which he hereby asserts.

Atanas John Michel suffered damages due to the improper and negligent execution of a search warrant,
and undue use of force by the referenced police departments on or about May 29, 2014.

Claimant does not owe the State or its agencies any fines, penalties, fees or judgments in excess of
$200.00.

Enclosed herewith please find copies of Notice Letters forwarded this date to Jef Atwater, Chief Financial
Officer, State of Florida, 200 E Gaines St., Tallahassee, FL, 32399-6502: Enid Weisman, Mayor, City of
Aventura, 19200 West Country Club Drive, Aventura, FL 33180; J. D. Patterson, Director Miami-Dade
Police Department, 9105 NW 25th Street, Doral, FL 33172; and Steve Steinberg, Chief of Police,
Aventura Police Department, 19200 West Country Club Drive, Aventura, FL 33180, in compliance with
Florida Statutes,

Very truly yours,
Mare A, Greg

Mare A. Gregg, Esa.
Enclosures as stated
Case 1:16-cv-20249-DPG Document1 Entered on FLSD Docket 01/20/2016 Page 22 of 25

 

       
 

COMPLETE THIS SECTION ON DELIVERY

A. fi naire A f 4 no
fy Han Ald f ub , Agent
habs! dy UL mA C1 Addressee
B. Reopived by (Printed Nate) C. Date of Delivery
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SENDER: COMPLETE THIS SECTION

     

@ Complete items 1, 2, and 3. Also complete
item 4 if Restricted Delivery is desired.

@ Print your name and address on the reverse
so that we can return the card fo you.

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a Attach this card to the back of the maiipiece,
or on the front if space penniis.
sl IT nm 5 Helvery address diff fromitem i? C1 Yes 5
Carlos A. Gimenez, Mayor ES, enter delivery address below: = TINo
Miami-Dade County |

Stephen P. Clark Center
111 N.W. 1st Street, Suite 2910
. Service Type

Miami, Florida 33128
oe EY Certified Mail? I Priority Mail Express™
[grietum Receipt for Merchandis

 

 

 

 

 

 

Cl Registered
C1 insured Mail © (1 Collect on Delivery
. 4, Restricted Delivery? (Extra Fee) 0 Yes
2, Article Number —————— ee Ee aa
(Transfer from service label) 3012 1010 0003 1855 2954
Domestic Return Receipt

 

, PS Form 3811, July 2013
f 25
Case 1:16-cv-20249-DPG Document1 Entered on FLSD Docket 01/20/2016 Page 230

Law OFFICES
MARC A. GREGG
PROF ESSIONAL ASSOCIATION
2114 N, FLAMINGO ROAD #136
Pembroke Pines, Fi 33028

Mare A. Gregg Telephone (954) 680-7661
marcagreggpa@aol.com

May 4, 2015

BY
.

CERTIFIED MAIL RETURN REC EIPT REQUESTED

 

Steve Steinberg, Chief of Police
Aventura Police Departm
19200 West Country Club Drive

Aventura, FL 33126

  

RE: NOTICE OF CLant— ATANAS JOHN MICHEL ys, Miami Dade Police Department,
Aventura Police Department Miami-Dade County and City of Aventura

Claimant Atanas John fichel’s Date of Birth : 21/15/195)]
Claimant Atanas John Michel's Place of Birth : Haiti
Claimant Atanas John Michel's Social Security No. : 262-789-9432

You are herewith notified. pursuant to Fla. Stat. $768.28(6) and $768.28(7), that Atanas John Michel has
ims for damages against the Miami-Dade Police Department, Aventura Police Department, Miami-Dade
County and City of Aventura which he hereby asserts,

Atanas John Michel suffered damages due to the improper and negligent execution of a search warrant,
and undue use of force by the referenced police departments on or about May 29, 2014,

Claimant does not owe the State or its agencies any fines, penalties, fees or judgments in excess of

T 00

Entlosed herewith please find copies of Notice Letters forwarded this date to Jeff Atwater, Chief Financial
fficer, State of Florida. 200 E Gaines St., Tallahassee, FL, 32399-6502; J. D. Patterson, Director
wiami-Dade Police Department, 9105 NW 25th Street, Doral, FL 33172; Carlos A, Gimenez, Mayor,
Miami-Dade County, Stephen P, Clark Center, 111 NW. Ist Street, Suite 2910, Miami, Florida 33128;
ahd Enid Weisman, Mayor, City of Aventura, 19200 West Country Club Drive, Aventura, FL 33180, in
compliance with Florida Statutes.

Very truly yours,

Marc A. Gresg EA —
Seen ae

Mare A. Gregg, Esq.
Enclosures as stated
Case 1:16-cv-20249-DPG Document1 Entered on FLSD Docket 01/20/2016 Page 24 of 255

  

SENDER: COMPLETE THIS SECTION

@ Complete items 1, 2, and 3. Also complete

item 4 if Restricted Delivery is desired.

@ Print your name and address on the reverse
so that we can return the card to you.

@ Attach this card to the back of the mailpiece,
or on the front if space permits.

4 Actinten Adelennnanet in-

Steve Steinberg, Chief of Police
Aventura Police Department
19200 West Country Club Drive
Aventura, FL 33180

 

   

 

  

COMPLETE THIS SECTION ON DELIVERY

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Jo Be

 

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T E> Received ares Name) C. Date “| Delivery

 

LAU LAS

 

 

D. Is delivery address different from item 1? 11 Yes
ES, enter delivery address below: C1 No

 

 

3. Service Type
JA Certified Mail® 1 Priority Mail Express™
C1 Registered Ef Return Receipt for Merchandis:

 

2. Article Number 70 i 2 1 01 0

(Transfer from service label)
PS Form 3811, July 2013

C1 Insured Mail 1 Collect on Delivery
4, Restricted Delivery? (Extra Fee) £1 Yes

 

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Domestic Return Receipt

 
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‘English Customer Service USPS Mobile Register / Sign In

 

Ba USPS.;COM
USPS Tracking™ :
as<ing Number: 70121010000318552930

    

Postal Product: Features:
Certified Mail™ ret Und:

DATE & TIME STATUS OF ITEM LOCATION Emati Une

May 7, 2015, 12:52 pm Delivered MIAMI, FL 33180

Your item was delivered at 12:52 pm on May 7, 2075 in MIAMI, FL 33180.

May 6, 2015 , 5:22 pm Departed USPS Facility MIAMI, FL 33152

May 5, 2015 , 11:47 pm Arrived at USPS Facility MIAMI, FL 33152

 

Tracking (or receipt) number Track al your c
- No tracking nur

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